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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS



ANALOG DEVICES, INC. and HITTITE
MICROWAVE LLC,

           Plaintiffs,

                   v.                   Civil Action No. 1:18-cv-11028-GAO

MACOM TECHNOLOGY SOLUTIONS
HOLDINGS, INC. and MACOM
TECHNOLOGY SOLUTIONS INC.,              ORAL ARGUMENT REQUESTED

           Defendants.




               MEMORANDUM OF LAW IN SUPPORT OF
           ANALOG’S MOTION FOR PRELIMINARY INJUNCTION
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I.     INTRODUCTION

       Beginning in 2015, three senior Analog 1 employees left Analog to join its competitor,

MACOM. Since their arrival at MACOM, MACOM has introduced several products, including

gallium arsenide (“GaAs”) wideband power amplifiers, in direct competition with (indeed, in some

instances “pin-compatible” to) Analog’s products. These MACOM products could not have made

it to the market so quickly or been so successful, without MACOM using Analog’s trade secrets

and infringing Analog’s patent rights.

       By this motion, Analog requests an order preventing further attack on Analog’s market

share for these power amplifiers. Specifically, Analog seeks a preliminary injunction barring

further sale and marketing of MACOM’s MAAP-011247 and MAAP-011247-DIE amplifiers

(collectively, the “MAAP-011247 amplifier”). By separate motion filed this same day, Analog

also seeks expedited discovery to determine the extent of MACOM’s use of Analog’s technology

and trade secrets, and a schedule that permits supplementation of this briefing with evidence

otherwise unobtainable to Analog at this stage of the case. Analog does not suggest here that a

preliminary injunction hearing within weeks is necessary – rather, it seeks a short discovery period,

followed by a hearing on the merits.

       The urgency of Analog’s need for preliminary relief is clear.




                                                           Because customers use these amplifiers

1
        On July 22, 2014, Analog Devices, Inc. acquired Hittite Microwave Corporation, which
currently operates as Hittite Microwave LLC – a wholly-owned subsidiary of Analog Devices,
Inc. The two entities will be referred to jointly as “Analog” unless separation is necessary for
clarity. Similarly, MACOM Technology Solutions Holdings, Inc. and its subsidiary MACOM
Technology Solutions Inc., both Defendants here, will be referred to jointly as “MACOM.”
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in laboratory testing instrumentation, telecom infrastructure electronics, fiber optic systems

electronics, and military and space applications,




                                                                                         A hearing

in November (or sooner) will give the parties time to develop their record and receive the Court’s

decision before Analog loses additional customers. Given the evidence that the accused products

infringe Analog’s U.S. Patent No. 9,425,752 (the “‘752 Patent”) and use its trade secrets, expedited

relief is appropriate.

II.     BACKGROUND / STATEMENT OF RELEVANT FACTS

        A.      The ‘752 Patented Invention, and Analog’s HMC998 Amplifier

        Analog’s HMC998 amplifier was developed by engineers at Hittite Microwave

Corporation working under the supervision of Mr. Frank Traut. In or around 2008/2009, Mr. Traut

was Hittite’s Director of Integrated Circuit (“IC”) Engineering. His role included supervising the

research and development work performed by many of Hittite’s product design engineers, and

meeting regularly with Hittite’s customers to understand their requests, needs, and product

requirements. Mr. Traut also helped the company set strategy for product development, and was

an active member of the Hittite patent review committee. It was under Mr. Traut’s supervision

that Hittite’s line of monolithic microwave integrated circuit (“MMIC”) wideband distributed

amplifiers was developed. Benson Decl. ¶¶ 5-6. 2




2
       Analog’s motion is supported by the expert declaration of Dr. Mark N. Horenstein
(“Horenstein Decl.”), and the declaration of Keith Benson, Analog’s Product Line Director of
RF/MW Amplifier & Phased Array IC Products (“Benson Decl.”). Citations to Exhibits (“Ex.”)
herein refer to the documents identified in the declaration of Kimberly A. Mottley, also filed
herewith.
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                                                                 Id. at ¶ 7.

        In this new development effort, Mr. Keith Benson, a Hittite electrical engineer working on

Mr. Traut’s team, innovated a unique MMIC amplifier design that had a wide band of frequency

operation and increased output power, while avoiding breakdown of the amplifier due to the

increased voltage required of such increased power output. The newly designed product was

branded by Hittite as the HMC998 power amplifier; the amplifier operated over a wide band of

frequencies (0 to 22 GHz) and boasted 2 Watt power output specifications. Indeed, before his

invention, no GaAs amplifier product of this nature could obtain a 2 Watt power output. Id. at ¶¶

13. Hittite patented some of Mr. Benson’s innovations in developing the HMC998 amplifier. One

of the patents that covers certain of these innovations is the ‘752 Patent at issue in this motion. Id.

at ¶¶ 8-9.

        In addition to its patent filings, Hittite chose to keep some of Mr. Benson’s innovations as

confidential trade secrets.




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Id. at ¶¶ 10-12, 16.

        Importantly, from his work in supervising development of the HMC998 amplifier, Mr.

Traut was well aware of these design innovations that Analog kept as internal trade secrets,

including the fact that Mr. Benson tried other initial designs that failed to achieve the same results.

Id. at ¶ 14.

        Hittite launched the HMC998 amplifier in November 2011.




                                                                   Id. at ¶¶ 13, 17-18.




       Id. at ¶¶ 18-19.




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                                           Id. at ¶¶ 15, 20-21.

       B.         Frank Traut’s Move to MACOM




– Mr. Traut left Hittite (which had recently been acquired by Analog) for MACOM, where he is

presently employed as MACOM’s Senior Director of Technology and Innovation. Id. at ¶¶ 21-

23; Ex. A at 1.

       Mr. Traut was then, and is still, bound by confidentiality obligations covering the trade

secrets described above, including obligations enumerated in Hittite’s Proprietary Information,

Confidentiality and Inventions Agreement which he executed in March 2003, and Analog’s

Employee Confidentiality and Developments Agreement which he executed in September 2014.

Ex. B at para. 1; Ex. C at 4, para. 1. Despite his agreement to protect Analog’s confidential

information, however, before his departure, Mr. Traut downloaded to removable devices

                      of documents containing confidential and proprietary information from Hittite

and Analog systems, including highly sensitive documents related to product design, development,

and market strategy. Ex. D.

       When Analog learned about Mr. Traut’s unauthorized download of its proprietary

information, Analog sent Mr. Traut a letter on March 13, 2015, reminding him of his

confidentiality obligations. Analog copied John Croteau, MACOM’s CEO, on that letter, and then

sent a second letter on March 18, 2015 directly to Mr. Croteau, requesting MACOM’s assistance


3
        Analog focuses on these exemplary trade secrets that concern Mr. Traut for the sole
purpose of presenting its argument in this brief. Analog reserves all rights to pursue its case –
including preliminary injunctive relief – concerning the other two former employees named in the
complaint (Thomas Winslow and George Papamitrou), and to identify additional trade secrets
during the litigation.
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in ensuring that Mr. Traut did not misuse Analog’s information. Exs. C, E. As is evident now

from examination of MACOM products, Mr. Croteau and MACOM failed to take the necessary

precautions to ensure that MACOM did not use Analog’s proprietary information.

       C.     MACOM’s Attempt to Capitalize on Analog Trade Secrets

       On September 21, 2016, the year after Mr. Traut left Analog for MACOM, MACOM

released its MAAP-011247 amplifier. Ex. F. The MAAP-011247 amplifier directly infringes

Analog’s ‘752 Patent, and uses Analog’s trade secret design choices. Horenstein Decl. ¶¶ 22-25.




       Use of the Analog trade secret design choices described above are shown in the annotated

photographs above. Specifically annotated above are:


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                                   Id. at ¶¶ 24, 26-28. MACOM’s MAAP-011247 amplifier also

infringes the ‘752 Patent, as described more fully in Section IV(A)(1) below.




                         Id. at ¶¶ 26-28.




                    Id. at ¶ 30.




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III.    LEGAL STANDARDS

        “A plaintiff seeking a preliminary injunction must establish that [1] it is likely to succeed

on the merits; [2] that it is likely to suffer irreparable harm in the absence of preliminary

[injunctive] relief, [3] that the balance of equities tips in its favor, and [4] that an injunction is in

the public interest.” Astrazeneca LP v. Apotex, Inc., 633 F.3d 1042, 1049 (Fed. Cir. 2010). These

factors, taken individually, are not dispositive; rather, the district court must weigh and measure

each factor against the other factors and against the form and magnitude of the relief requested.

Hybritech Inc. v. Abbott Labs., 849 F.2d 1446, 1451 (Fed. Cir. 1988). 4

        In patent cases, likelihood of success on the merits requires a two-step analysis: “the

patentee must show that, in light of the presumptions and burdens applicable at trial, it will likely

prove that the alleged infringer infringes the asserted claims of the patent and that the patent will

likely withstand the alleged infringer’s challenges to its validity.” Abbott Labs. v. Sandoz, Inc.,

544 F.3d 1341, 1372 (Fed. Cir. 2008) (internal citations omitted); see also Printguard, Inc. v. Anti-

Marking Sys., Inc., 535 F. Supp. 2d 189, 196 (D. Mass. 2008).

        Patents are presumed valid by statute, and the presumption applies during preliminary

injunction proceedings. 35 U.S.C. § 282; see also Microsoft Corp. v. i4i Ltd. P’ship, 131 S. Ct.

2238, 2242 (2011); Titan Tire Corp. v. Case New Holland, Inc., 566 F.3d 1372, 1377, 1379-80

(Fed. Cir. 2009). Thus, “when analyzing the likelihood of success factor, the trial court . . . must



4
       For the purposes of this case, there is no material difference between the standards for
obtaining a preliminary injunction in the First and Federal Circuits. See Biogen Idec MA Inc. v.
Trustees of Columbia Univ. in City of New York, 332 F. Supp. 2d 286, 295 (D. Mass. 2004).

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determine whether it is more likely than not that the challenger will be able to prove at trial, by

clear and convincing evidence, that the patent is invalid.” Id. at 1379.

       To establish likelihood of success on the merits of a claim of tortious misappropriation of

trade secrets under Massachusetts law, a plaintiff must make the following showings: “1) the

information at issue [] constitute[s] a trade secret, 2) the plaintiff [has] taken reasonable steps to

secure the confidentiality of the trade secret, and 3) the defendant [has] used improper means to

obtain the trade secret.” Optos, Inc. v. Topcon Med. Sys., Inc., 777 F. Supp. 2d 217, 238 (D. Mass.

2011). With respect to the third element, “a third party who knowingly benefits from a trade secret

which a person in a confidential relationship obtained from the plaintiff is liable to the plaintiff for

the misappropriation of that trade secret.” Id. (citing Data Gen. Corp. v. Grumman Sys. Support

Corp., 795 F. Supp. 501, 507 (D. Mass. 1992)).

       As for irreparable harm, in the First Circuit, “the measure of irreparable harm is not a rigid

one; it has been referred to as a sliding scale, working in conjunction with a moving party’s

likelihood of success.” Vaqueria Tres Monjitas, Inc. v. Irizarry, 587 F.3d 464, 485 (1st Cir. 2009).

“[W]hen the likelihood of success on the merits is great, a movant can show somewhat less in the

way of irreparable harm and still garner preliminary injunctive relief.” Biogen Idec, 332 F. Supp.

2d at 295 (citing EEOC v. Astra USA, Inc., 94 F.3d 738, 743 (1st Cir. 1996); see also Spruce Envt’l

Techs., Inc. v. Festa Radon Techs., Co., No. 15-11521, 2015 U.S. Dist. LEXIS 86552, *10-11 (D.

Mass. July 2, 2015) (finding irreparable harm based in part on the parties’ positions as direct

competitors).

IV.    ARGUMENT




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        Prior to trial in this action, the Court should enter a preliminary injunction prohibiting

MACOM from marketing and/or selling the MAAP-011247 amplifier, and from developing other

related products. All four factors favor this targeted preliminary injunctive relief.

        A.      Analog is Likely to Succeed on the Merits

                1.     MACOM’s MAAP-011247 Amplifier Infringes the ‘752 Patent

        With respect to likelihood of success on infringement, Analog need only show that it likely

will be able to prove at trial, by a preponderance of evidence, that the MAAP-011247 amplifier

infringes one claim of the ‘752 Patent. Abbott Labs. v. Sandoz, 544 F.3d at 1372; Uniloc USA,

Inc. v. Microsoft Corp., 632 F.3d 1292, 1301 (Fed. Cir. 2011) (infringement occurs where an

accused product meets every limitation in the asserted claim). As explained below, and supported

by the Declaration of Dr. Mark N. Horenstein filed herewith, 5 the MAAP-011247 amplifier

includes each limitation of at least claims 15, 16, and 17, of the ‘752 Patent, and therefore infringes

the patent. 6

        By way of example, claim 15 of the ‘752 Patent recites:

A distributed amplifier comprising:

    an input transmission line;

    an output transmission line; and

    a plurality of cascode amplifiers each coupled between the input transmission line and the
    output transmission line, wherein a first cascode amplifier of the plurality of cascode amplifiers
    comprises:

        three or more field effect transistors (FETs) arranged in a stack, wherein the three or more
        FETs comprises a first FET, a second FET, and a third FET, wherein the first FET includes

5
       Dr. Horenstein is a professor of electrical engineering at Boston University, with over 40
years of experience in power systems and electronic circuit design. He studied at the Electric
Power Systems Engineering Laboratory at the Massachusetts Institute of Technology, where he
obtained a Ph.D. in Electrical Engineering in 1978. Horenstein Decl. ¶¶ 1, 4, 7.
6
       Analog discusses these particular claims here for the sole purpose of presenting its
preliminary injunction motion; Analog reserves all rights to assert additional patents and patent
claims during the litigation.
                                                  10
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       a gate coupled to the input transmission line, wherein the second FET is positioned between
       the first FET and the third FET in the stack, and wherein the third FET includes a drain
       coupled to the output transmission line; and

       a first stabilization circuit coupled to a gate of the third FET, wherein the first stabilization
       circuit comprises a first resistor and a first capacitor electrically connected in series,

       wherein the first FET is configured to generate an amplified signal by amplifying an input
       signal received at the gate of the first FET from the input transmission line, wherein the
       first FET is further configured to provide the amplified signal to the output transmission
       line through the second FET, from a source of the second FET to a drain of the second
       FET, and through the third FET, from a source of the third FET to the drain of the third
       FET.

Ex. G, claim 15 (emphasis added).

       A photograph of the circuitry of the MAAP-011247 amplifier is below, with annotations

showing the locations of the claimed “input transmission line,” “output transmission line,” as well

as examples of the claimed “plurality of cascode amplifiers” and “stabilization circuit.”

Horenstein Decl. ¶ 23. Examples of the first, second, and third field effect transistors arranged in

a stack are also annotated in the photograph as #1, #2 and #3 respectively. Id.




The first FET is configured to generate and provide an amplified signal, as recited in the claims.

Id.


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       MACOM infringes the ‘752 Patent, and Analog will likely prevail on this issue at trial.

               2.      The ‘752 Patent is Likely to Withstand Validity Challenges

       While Analog does not yet know the defenses that MACOM may raise in this case, accused

infringers typically challenge the validity of an asserted patent. However, patents are presumed

valid by statute, and the presumption of validity applies during preliminary injunction proceedings.

35 U.S.C. § 282; Titan Tire Corp., 566 F.3d at 1379-80. As such, here MACOM would need to

show that it is more likely than not to prove at trial, by clear and convincing evidence, that the

Patent Office erred in granting the ‘752 Patent.

       MACOM will be unable to make such a showing because through multiple rounds of

examination, including consideration of well over 30 references cited during examination, not once

did the Patent Office cite prior art that would anticipate the ‘752 Patent claims under 35 U.S.C. §

102. See Exs. H at 3-4, I at 3-5, & J at 3-5 (rejecting initial claims under double-patenting and

obviousness grounds only). And, although the Patent Office rejected the initially-filed claims

based on combinations of prior art that it asserted would render those claims obvious under 35

U.S.C. § 103, the Patent Office ultimately granted the claims after the applicant amended the

claims – finding that even the “closest prior art of record” did not disclose all elements of the

claims once amended. Ex. K at 5.

       Beyond the lack of compelling prior art, objective evidence of non-obviousness (sometimes

referred to as “secondary considerations”), when presented, may often be the most probative

evidence of non-obviousness. Transocean Offshore Deepwater Drilling, Inc. v. Maersk Drilling

USA, Inc., 699 F.3d 1340, 1349 (Fed. Cir. 2012). That objective evidence is compelling here.

       For example, the patented inventions allowed Analog to introduce higher power output in

GaAs wideband amplifiers, thus solving a long felt but unmet need. Benson Decl. ¶ 7, 15. These



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amplifiers are used in laboratory testing instrumentation, telecom infrastructure applications, and

fiber optic applications, among others, and major customers in the industry were demanding higher

power in these amplifiers with a wide band of frequency operation. Id. at ¶ 7, 15. However, higher

power would require higher voltage that would inevitably destroy the transistors used in prior art

power amplifiers. The solution to this problem was not obvious – it took one of Analog’s most

senior and skilled engineers approximately three years to solve this problem through the inventions

described in the ‘752 Patent. Id. at ¶ 8-9, 16.

       And, Analog’s HMC998 and HMC998A amplifiers became unmistakable commercial

successes, demanded by large players in the industry such as

                                      Id. at ¶ 13, 15.

       Finally, and perhaps the most compelling objective evidence, is that the invention was

copied by Analog’s competitor MACOM, leading to this lawsuit.

       The presumption – and inescapable conclusion based on the evidence – is that Analog’s

‘752 Patent is valid and likely will withstand any validity challenge that MACOM may assert.

               3.      Analog Is Likely to Succeed in Proving Trade Secret Misappropriation

                       a.      Analog’s Design Choices and Customer Needs are Trade Secrets

       Under Massachusetts common law, “a trade secret is a 1) secret, that is 2) used in one’s

business, and that 3) gives the owner an opportunity to obtain an advantage over competitors who

do not know or use the secret.” Optos, 777 F. Supp. 2d at 238 (citing J.T. Healy & Son, Inc. v.

James A. Murphy & Son, Inc., 357 Mass. 728, 736, 260 N.E.2d 723, 729 (1970)).                  The

Massachusetts statutory definition of a trade secret encompasses “anything tangible or intangible

or electronically kept or stored, which constitutes, represents, evidences or records

a secret scientific, technical, merchandising, production or management information, design,



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process, procedure, formula, invention or improvement.” Mass. Gen. Laws ch. 93, § 42; Mass.

Gen. Laws ch. 266, § 30.

       The two confidential design attributes of Analog’s HMC998 amplifiers, and the details

concerning Analog’s customers’ needs for such products                                          were

trade secrets, both of a technical and a business nature. The technical trade secrets are technical

designs that were kept confidential at Analog, and helped Analog’s products to function to meet

customer needs. Similarly, the needs of the specific customers for the HMC998/998A amplifiers,

the timing of those needs                                       were secret business management

information not known outside Analog. See Salomon Smith Barney, Inc. v. Barcomb, No. 02-J-

692, 2003 Mass. App. LEXIS 1497, at *4 (Mass. App. Ct. Jan. 3, 2003) (“the list of plaintiff’s

clients and the financial data and personal information relating to them, is confidential information

entitled to be protected”); Glosband v. Watts Detective Agency, Inc., 21 B.R. 963, 972-73 (D.

Mass. 1981) (finding that customer lists are protectable property); In re Yankee Milk, Inc., 372

Mass. 353, 363 n.9 (1977) (finding that customer lists can constitute trade secret information).

                       b.      Analog Took Reasonable Steps to Protect the Confidentiality of
                               its Trade Secrets

       In determining whether something qualifies as a trade secret, the Court needs to determine

whether the trade secret owner took reasonable steps to preserve the confidentiality. In doing so,

the Court must consider: “1) the existence or absence of a [confidentiality agreement], 2) the

nature and extent of precautions taken, 3) the circumstances under which the information was

disclosed and 4) the degree to which the information has been placed in the public domain or

rendered readily ascertainable.” TouchPoint Sols., Inc. v. Eastman Kodak Co., 345 F. Supp. 2d

23, 29 (D. Mass. 2004). “[T]he standard is reasonableness, not perfection.” Id. at 30.




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       The existence of non-disclosure agreements or similar obligations restricting access to

confidential information – such as those Mr. Traut was required to execute as part of his

employment – constitute a reasonable effort to maintain the confidentiality of a trade secret. See

E. Marble Prods. Corp. v. Roman Marble, Inc., 372 Mass. 835, 840 (1977) (finding that requiring

employees to sign non-disclosure agreements and putting employees on notice that trade secrets

were involved was sufficient); cf. Stone Legal Res. Grp., Inc. v. Glebus, No. 02-5136, 2002 Mass.

Super. LEXIS 555, at *11 (Mass. Super. Ct. Dec. 17, 2002) (finding that informing employees

about confidentiality provisions and requiring non-disclosure agreements were reasonable

measures). See also Whipps, Inc. v. Ross Valve Mfg. Co., No. 14-40045-TSH, 2014 WL 1874754,

at *9 (D. Mass. May 8, 2014) (finding that the head of engineering, who started as a project

manager and moved up the ranks, was privy to matters important business matters unintended for

public consumption and would have known the importance of maintaining the secrecy of

innovative designs within the industry).

                      c.      MACOM Improperly Acquired Analog’s Trade Secrets

       As a matter of law, “an individual who breaches contractual duties to obtain trade secrets

has used improper means” 7 and “[a] party who knowingly benefits from the breacher’s trade secret

bounty is also liable. Optos, 777 F. Supp. 2d at 240 (citing Curtiss–Wright Corp. v. Edel–Brown

Tool & Die Co., 381 Mass. 1, 5-6 (1980)). Massachusetts trade secret law attributes liability to

any third party who “knowingly benefits from a trade secret which a person in a confidential

relationship obtained from the plaintiff.” Data Gen. Corp., 795 F. Supp. at 507 (D. Mass. 1992). 8



7
       Violation of an employment agreement has consistently been found to constitute an act of
misappropriation. See Boston Sci. Corp. v. Lee, No. 13-13156-DJC, 2014 WL 1946687, at *5 (D.
Mass. May 14, 2014) (finding that retention, even if inadvertent, of documents belonging to a
former employer and in violation of an employment agreement constituted improper means).
8      Other courts have enjoined employers who have benefited from recently hired employees’
disclosure of their former employer’s trade secrets. See, e.g., Garvin GuyButler Corp. v. Cowen
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       MACOM’s acquisition of Analog’s trade secret information from Mr. Traut – in violation

of his contractual confidentiality obligations – constitutes improper means and thus

misappropriation. MACOM cannot credibly claim ignorance that the information Mr. Traut

brought to MACOM included Analog trade secrets when MACOM’s CEO was twice warned in

writing of that very possibility. And, it makes no difference whether the misappropriation involved

Mr. Traut’s use of actual documents downloaded from Analog’s servers, or his use of the

confidential information he retained in his memory – the result is the same: misappropriation. See

Jet Spray Cooler, Inc. v. Crampton, 361 Mass. 835, 840 (1972) (“the fact that no list or paper was

taken does not prevent the former employee from being enjoined if the information which he

gained through his employment and retained in his memory is confidential in nature”).

               4.     This Court Should Allow Limited Expedited Discovery Concerning
                      MACOM’s Trade Secret Misappropriation

       In this motion, Analog has itemized exemplary trade secret information concerning product

design and customer needs with respect to sales of the MAAP-011247 amplifier. However, the

extent of MACOM’s use of Analog’s trade secrets is not known, and cannot be known, without

further discovery. Expedited, targeted discovery would help to uncover the extent to which

MACOM made use of Analog’s trade secrets, as well as whether such information is being used

in current design and development of other MMIC amplifier products. Thus, Analog has filed

simultaneously herewith a motion for expedited discovery and supplemental briefing after that

discovery is complete, such that the Court can decide the present motion on a more fulsome record.

       B.      Analog Will Suffer Irreparable Harm If MACOM Is Allowed to Make
               Additional Sales of the MAAP-011247 Amplifier Before Trial




& Co., 588 N.Y.S.2d 56, 60 (Sup. Ct. 1992); Witkop & Holmes Co. v. Great Atl. & Pac. Tea Co.,
124 N.Y.S. 956, 958 (Sup. Ct. 1910).
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       Having made a strong showing of likelihood of success on the merits above, a weaker

showing of irreparable harm would suffice here; however, the evidence supports a strong showing

of irreparable harm as well.




       First, when a plaintiff demonstrates likelihood of success on a misappropriation of trade

secrets claim, it need not prove irreparable injury because such harm is presumed. Optos, 777 F.

Supp. 2d at 241 (citing EchoMail, Inc. v. Am. Express Co., 378 F. Supp. 2d 1, 4 (D. Mass. 2005)).

“Injunctive relief is warranted to prevent misappropriation and unlawful use of confidential

records such as the customers’ names and addresses in circumstances in which the former

employee and employer entered into a contract that restricts the former employee’s use of such

material following his employment.” Merrill Lynch, Pierce, Fenner & Smith, Inc. v. Dewey, 18

Mass. L. Rptr. 49, at *4-5 (Mass. Super. Ct. 2004). Withholding injunctive relief in a situation

where a departing employee may take a competitive position with another in the same market as

the plaintiff would cause irreparable harm that cannot be quantified or remedied with money

damages. See Bio-Imaging Techs., Inc. v. Marchant, 584 F. Supp. 2d 322, 330 (D. Mass. 2008);

see also Shipley Co., Inc. v. Clark, 728 F. Supp. 818, 827 (D. Mass 1990) (finding loss of good



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will due to unknown or future violations of non-compete agreements to be irreparable).

        While irreparable harm is not presumed in patent cases, “[i]t is well-settled that, because

the principal value of a patent is its statutory right to exclude, the nature of the patent grant weighs

against holding that monetary damages will always suffice to make the patentee whole.” Hybritech

Inc. v. Abbott Labs., 849 F.2d at 1456-57. Thus, in patent cases, while irreparable harm cannot be

conclusively presumed, a finding that other remedies will suffice absent an injunction undermines

the nature of a patentee’s exclusionary right. The mere possibility of future monetary damages

does not defeat a motion for preliminary injunction. See Abbott Labs. v. Sandoz, 544 F.3d at 1361-

62 (holding that price erosion and loss of market position are evidence of irreparable harm,

notwithstanding the award of monetary damages); Sanofi–Synthelabo v. Apotex, Inc., 470 F.3d

1368, 1382-83 (Fed. Cir. 2006) (same).




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         C.     The Balance of Hardships Strongly Favors a Preliminary Injunction

         “[T]he ‘balance of hardships’ assesses the relative effect of granting or denying an

injunction on the parties . . . .” i4i Ltd. P’ship v. Microsoft Corp., 598 F.3d 831, 862 (Fed. Cir.

2010). Relevant considerations include the duration of the injunction, and “the parties’ sizes,

products, and revenue sources.” Id. at 863. Because monetary damages are unlikely to compensate

for the disclosure of trade secrets to third parties, such damages caused by disclosure to the industry

tip the balance of harms in favor of the trade secret plaintiff. TouchPoint Sols., 345 F. Supp. 2d at

32. Here, Analog is seeking targeted injunctive relief which would not unduly burden MACOM,

in view of the nature of the harm to Analog if MACOM were not so enjoined for another two

years.


9
        See Trebro Mfg., 748 F.3d at 1171 (granting injunctive relief where parties were “direct
competitors selling competing products,” which “strongly shows a probability for irreparable
harm,” even when the plaintiff-patentee did not presently practice the patent); Robert Bosch LLC
v. Pylon Mfg. Corp., 659 F.3d 1142, 1151 (Fed. Cir. 2011) (“the existence of a two-player market
may well serve as a substantial ground for granting an injunction” because “it creates an inference
that an infringing sale amounts to a lost sale for the patentee”); Celsis In Vitro, Inc. v. CellzDirect,
Inc., 664 F.3d 922, 930 (Fed. Cir. 2012) (granting preliminary injunction where patentee’s
“flagship products” were “in their growth phase and [would] soon be entering the mature phase
with the highest revenues and strongest market position”).

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              D.             The Public Interest Strongly Favors a Preliminary Injunction

              “[I]t is generally in the public interest to uphold patent rights . . . .” Broadcom Corp. v.

Qualcomm Inc., 543 F.3d 683, 704 (Fed. Cir. 2008).10 The Federal Circuit has long held that sound

public policy “acknowledge[s] the importance of the patent system in encouraging innovation.”

Sanofi–Synthelabo, 470 F.3d at 1383. There is no reason to depart from that general rule here.

              Similarly, “Massachusetts has a clear public policy in favor of strong protections for trade

secrets.” Optos, 777 F. Supp. at 242; Jet Spray Cooler, 377 Mass. at 166 n.8. “If an employer

designs a machine, invents a process or discovers a formula that has a special business application,

the employer has a right to prevent a former employee from using that confidential information

for a competitor.” Edwards v. Athena Capital Advisors, Inc., No. 072418E, 2007 WL 2840360,

at *3 (Mass. Super. Ct. Aug. 9, 2007). The purpose of an injunction in a trade secret case, beyond

protecting the secrecy of the misappropriated information, is to “eliminate the unfair advantage

obtained by the wrongdoer and reinforce the public policy of commercial morality.” Gen. Elec.

Co. v. Sung, 843 F. Supp. 776, 778 (D. Mass. 1994). The public has “a manifest interest not only

in commercial innovation and development, but also in ‘[t]he maintenance of standards of

commercial ethics.’” Jet Spray Cooler, 377 Mass. at 166-67 (citing Kewanee Oil Co. v. Bicron

Corp., 416 U.S. 470, 481 (1974)). The public interest factor in protecting Analog’s patent and

trade secret rights, thus, weighs in favor of an injunction.

V.            CONCLUSION

              For the foregoing reasons, the Court should issue a preliminary injunction order enjoining

any further marketing of sale of the MAAP-011247 amplifier pending trial in this case.

 

                                                            
10
        See also Rite-Hite Corp. v. Kelley Co., 56 F.3d 1538, 1547 (Fed. Cir. 1995) (“[C]ourts have
in rare instances exercised their discretion to deny injunctive relief to protect the public interest.”)
(emphasis added).
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    Dated: June 29, 2018               Respectfully submitted,

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                                       HITTITE MICROWAVE LLC

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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing on June 29, 2018.


                                                   /s/ Steven M. Bauer
                                                   Steven M. Bauer
